Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 1 of 41




         Exhibit GG
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 2 of 41




                                  NO. ____

         In the Supreme Court of the United States

                        RAYMOND ARMSTRONG, et al.,
                                                            Petitioners.
                                        v.
         NATIONAL FOOTBALL LEAGUE and NFL Properties LLC,
                                              Respondents,
                   KEVIN TURNER and SHAWN WOODEN,
           on behalf of themselves and all others similarly situated,
                                                          Respondents.


           On Petition for a Writ of Certiorari to the United States
                    Court of Appeals for the Third Circuit


             PETITION FOR A WRIT OF CERTIORARI

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        September 26, 2016
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 3 of 41


                                    -i-
                      QUESTION PRESENTED
             In Amchem Products, Inc. v. Windsor, 521 U.S. 591,
        597, 620 (1997), this Court held that Rule 23’s adequacy-
        of-representation requirement demands “heightened”
        rigor for settlement classes, and reversed a “class-action
        certification [that] sought to achieve global settlement of
        current and future asbestos-related claims.” Because the
        settlement’s “essential allocation decisions” favored
        some claimants over others, class members’ interests
        were “not aligned,” and the Court could find no assur-
        ance—“either in the terms of the settlement or in the
        structure of the negotiations—that the future claimants
        were adequately represented.” Id. at 626-27.
             In Ortiz v. Fibreboard Corp., 527 U.S. 815, 858
        (1999), the Court again invalidated a global settlement
        that lacked structural protections “at the precertification
        stage.” The Court stressed that “the District Court took
        no steps at the outset” to guard against potential con-
        flicts, “relying instead on its post-hoc findings at the
        fairness hearing.” Id. at 831-32. A class of “present and
        future claims,” the Court held, “requires division into
        homogeneous subclasses” with “separate representation
        to eliminate conflicting interests of counsel.” Id. at 856.
             The Third Circuit in this case approved a global
        class-action settlement of claims against the NFL stem-
        ming from current and future brain injuries. The deal
        was negotiated by lawyers representing clients with
        current injuries, and produced a stark disparity as to the
        disease that animated this litigation in the first place,
        Chronic Traumatic Encephalopathy: a pre-settlement
        diagnosis of CTE is worth up to $4 million; a post-
        settlement diagnosis is worth nothing.
             The question presented is whether approval of such
        a settlement is consistent with Rule 23’s adequacy-of-
        representation requirement and due process.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 4 of 41


                                    -ii-
                 PARTIES TO THE PROCEEDINGS
             Petitioners Raymond Armstrong, Larry Barnes,
        Larry Brown, Drew Coleman, Kenneth Davis, Dennis
        DeVaughn, William B. Duff, Kelvin Mack Edwards, Sr.,
        Phillip E. Epps, Gregory Evans, Charles L. Haley, Sr.,
        Mary Hughes, James Garth Jax, Ernest Jones, Michael
        Kiselak, Dwayne Levels, Darryl Gerard Lewis, Gary
        Wayne Lewis, Jeremy Loyd, Lorenzo Lynch, Tim
        McKyer, David Mims, Clifton L. Odom, Evan Ogelsby,
        Solomon Page, Hurles Scales, Jr., Barbara Scheer, Kev-
        in Rey Smith, George Teague, and Curtis Bernard Wil-
        son, were objectors in the district court and appellants in
        15-2272 below. Petitioner Willie T. Taylor was an objec-
        tor in the district court and appellant in 15-2294 below.
             Respondents National Football League and NFL
        Properties LLC were defendants in the district court
        and appellees in the proceedings below. Respondents
        Kevin Turner and Shawn Wooden were class representa-
        tives in the district court, and were plaintiffs-appellees
        below.
             Other objectors in the district court and appellants
        in the consolidated proceedings below were: Craig
        Heimburger and Dawn Heimburger (15-2206); Cleo
        Miller, Judson Flint, Elmer Underwood, Vincent Clark,
        Sr., Ken Jones, Fred Smerlas, Jim Rourke, Lou Piccone,
        and James David Wilkins, II (15-2217); Curtis L. Ander-
        son (15-2230); Darren R. Carrington (15-2234); Liyongo
        Patrise Alexander, Charlie Anderson, Charles E. Ar-
        buckle, Cassandra Bailey (as Representative of the Es-
        tate of Johnny Bailey), Ben Bronson, Curtis Ceaser, Jr.,
        Larry Centers, Darrell Colbert, Harry Colon, Christo-
        pher Crooms, Jerry W. Davis, Tim Denton, Michael
        Dumas, Corris Ervin, Doak Field, Baldwin Malcolm
        Frank, Derrick Frazier, Murray E. Garrett, Clyde P.
        Glosson, Roderick W. Harris, Wilmer K. Hicks, Jr.,
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 5 of 41


                                   -iii-
        Patrick Jackson, Gary Jones, Ryan McCoy, Jerry James
        Moses, Jr., Anthony E. Newsom, Rance Olison, John
        Owens, Robert Pollard, Derrick Pope, Glenell Sanders,
        Thomas Sanders, Dwight A. Scales, Todd Scott, Frankie
        Smith, Jermaine Smith, Tyrone Smith, and James A.
        Young, Sr. (15-2273); Scott Gilchrist, individually and on
        behalf of the Estate of Carlton Chester “Cookie”
        Gilchrist (15-2290); Jimmie H. Jones, Ricky Ray, and
        Jesse Solomon (15-2291); Andrew Stewart (15-2292);
        Alan Faneca, Roderick “Rock” Cartwright, Jeff Rohrer,
        and Sean Considine (15-2294); and James Mayberry (15-
        2305). Alvin Harper, Michael McGruder, and Nathaniel
        Newton, Jr., were also objectors in the district court and
        appellants in 15-2272 below, but are not petitioners here.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 6 of 41


                                                      -iv-
                                  TABLE OF CONTENTS
        Question presented ................................................................i	  
        Parties to the proceedings .................................................. ii	  
        Table of contents ..................................................................iv	  
        Table of authorities ..............................................................vi	  
        Introduction ...........................................................................1	  
        Opinions below .......................................................................3	  
        Jurisdiction ............................................................................3	  
        Rule involved .........................................................................3	  
        Statement ...............................................................................3	  
             I.	   	   	  Nearly every former NFL player who
                             has been examined has been diagnosed
                             with CTE. .................................................................3	  
             II.	   Responding to the connection between
                     CTE and football, retired players sue
                     the NFL in droves. ..................................................4	  
             III.	  Shortly after the appointment of a mediator,
                     the parties agree to a global settlement. ..............6	  
             IV.	   The district court approves the settlement. .......10	  
             V.	  	   The Third Circuit affirms. ....................................12	  
        Reasons for granting the petition .....................................14	  
             I.	   	   	  The Third Circuit’s crabbed view of this
                             Court’s landmark decisions in Amchem
                             and Ortiz cannot be reconciled with
                             other circuits’ cases. ..............................................14	  
             II.	   The Third Circuit’s decision contradicts
                     Amchem and Ortiz and delivers a dangerously
                     flawed blueprint for future class cases. ..............26	  
        Conclusion ............................................................................30	  
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 7 of 41


                                         -v-
        Appendix A Opinion of the United States Court
                   of Appeals for the Third Circuit
                   (April 18, 2016) .................................. App. 2a
        Appendix B Opinion of the United States
                   District Court for the Eastern
                   District of Pennsylvania
                   (April 22, 2015) ................................ App. 60a
        Appendix C Amended Final Order and
                   Judgment by the United States
                   District Court for the Eastern
                   District of Pennsylvania
                   (May 8, 2015).................................. App. 213a
        Appendix D Clarification to Amended Final
                   Order and Judgment by the United
                   States District Court for the
                   Eastern District of Pennsylvania
                   (May 11, 2015)................................ App. 222a
        Appendix E Order Denying Petiton for
                   Rehearing by United States Court
                   of Appeals for the Third Circuit
                   (June 1, 2016) ................................. App. 224a
        Appendix F Rule Involved: Federal Rule of
                   Civil Procedure 23......................... App. 226a
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 8 of 41


                                           -vi-
                          TABLE OF AUTHORITIES
        Cases	  
        Amchem Products, Inc. v. Windsor,
          521 U.S. 591 (1997) ............................................... passim
        Central States Southeast & Southwest Areas of
           Health & Welfare Fund v. Merck–Medco
           Managed Care, L.L.C.,
           504 F.3d 229 (2d Cir. 2007)...........................................21
        Charron v. Wiener,
           731 F.3d 241 (2d Cir. 2013)...........................................22
        Georgine v. Amchem Products, Inc.,
           83 F.3d 610 (3d Cir. 1996).......................................10, 15
        In re Asbestos Litigation,
           90 F.3d 963 (5th Cir. 1996) ...........................................19
        In re General Motors Corp. Pick-Up Truck Fuel
           Tank Products Liability Litigation,
           55 F.3d 768 (3d Cir. 1995).......................................24, 29
        In re Insurance Brokerage Antitrust Litigation,
           579 F.3d 241 (3d Cir. 2009)...........................................22
        In re Joint Eastern & Southern District
           Asbestos Litigation,
           982 F.2d 721 (2d Cir. 1992)...........................................21
        In re Joint Eastern & Southern Districts
           Asbestos Litigation,
           878 F. Supp. 473 (S.D.N.Y. 1995) ................................23

        In re Literary Works in Electronic Databases
           Copyright Litigation,
           654 F.3d 242 (2d Cir. 2011)......................... 20, 21, 22, 24
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 9 of 41


                                               -vii-
        In re Payment Card Interchange Fee &
           Merchant Discount Antitrust Litigation,
           827 F.3d 223 (2d Cir. 2016).................................. passim
        In re Pet Food Products Liability Litigation,
           629 F.3d 333 (3d Cir. 2010)...........................................22
        Juris v. Inamed Corp.,
           685 F.3d 1294 (11th Cir. 2012) .....................................23
        National Super Spuds v. New York Mercantile
          Exchange,
          660 F.2d 9 (2d Cir. 1981)...............................................29
        Ortiz v. Fibreboard Corp.,
           527 U.S. 815 (1999) ............................................... passim
        Smith v. Sprint Communications Co.,
          387 F.3d 612 (7th Cir. 2004) .........................................20
        Stephenson v. Dow Chemical Co.,
           273 F.3d 249 (2d Cir. 2001)...........................................23
        Sullivan v. DB Investments, Inc.,
           667 F.3d 273 (3d Cir. 2011)...........................................19
        Other authorities	  
        John D. Aldock & Richard M. Wyner, The Use of
           Settlement Class Actions to Resolve Mass
           Tort Claims After Amchem, 33 Tort & Ins.
           L.J. 905 (1998)................................................................19
        John Branch, Ken Stabler, a Magnetic N.F.L.
           Star, Was Sapped of Spirit by C.T.E., N.Y.
           Times, Feb. 3, 2016 .........................................................8

        Mark Fainaru-Wada & Steve Fainaru, League
          of Denial (2013) ...............................................................3
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 10 of 41


                                          -viii-
         Steve Fainaru & Mark Fainaru-Wada, UCLA
            study finds signs of CTE in living former
            NFL players, ESPN, Jan. 22, 2013 ..............................4
         David Geier, Will football players one day take
           medicine to prevent brain damage?, The
           Post and Courier, Aug. 5, 2015 ......................................3
         Geoffrey C. Hazard, Jr., The Futures Problem,
            148 U. Pa. L. Rev. 1901 (2000) .....................................14
         Richard A. Nagareda, The Law of Class Actions
            and Other Aggregate Litigation (2009) ......................20
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 11 of 41


                                     -1-
                             INTRODUCTION
              Class-action settlements can profoundly reshape the
         legal landscape: A small number of litigants and lawyers
         write the rules that bind thousands of strangers to the
         litigation, extinguishing their potentially valuable claims
         in exchange for global peace. To ensure that absentees’
         claims are not sacrificed for others’ benefit, class settle-
         ments require court approval. Under Rule 23, courts
         must be satisfied that the absentees have been adequate-
         ly represented by those who purport to speak for them.
              Perhaps surprisingly, given the obvious importance
         of the law governing class-action settlements, this Court
         has squarely addressed the topic just twice—in Amchem
         Products, Inc. v. Windsor, 521 U.S. 591 (1997), and Ortiz
         v. Fibreboard Corp., 527 U.S. 815 (1999)—and has not
         done so again in the nearly two decades since. Lacking
         guidance, the circuits that most often confront the issue
         have adopted conflicting interpretations of these two
         pathmarking decisions. In one camp is the Second Cir-
         cuit, which has consistently invalidated settlements and
         required subclasses with “separate counsel” whenever
         the deal “impacts the ‘essential allocation decisions’ of
         plaintiffs’ compensation and defendants’ liability.” In re
         Payment Card Interchange Fee & Merchant Disc. Anti-
         trust Litig., 827 F.3d 223, 233-34 (2d Cir. 2016). Even in a
         collateral attack—a case brought by absentees after a
         settlement’s approval—the Second Circuit has held that
         the absentees are not “bound by the settlement release”
         if “their class representative negotiated a settlement and
         release that extinguished their claims without affording
         them any recovery.” Id. at 237. To hold otherwise would
         “violate[] due process.” Id.
            Yet the Third Circuit below held just the opposite. It
         approved a global class-action settlement in a case that
         began much like Amchem and Ortiz: as thousands of
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 12 of 41


                                     -2-
         personal-injury cases filed against the National Football
         League by former players in the wake of the discovery of
         Chronic Traumatic Encephalopathy, or CTE, in 2009.
         Although as of today, this neurodegenerative disease can
         be definitively diagnosed only in the deceased, that will
         likely change in the near future. Seeking to head off a
         tsunami of future claims, the NFL pushed for a global
         settlement of all current and future CTE claims—while
         compensating only current CTE claims. Under the set-
         tlement, the family of a player who dies with CTE before
         final approval gets up to $4 million. But an identically
         situated player who dies after final approval releases his
         claim and gets nothing—for the exact same diagnosis.
              The Third Circuit held that this lopsided settlement
         satisfies Amchem and Ortiz and that any intra-class
         conflict was remedied because, after the architecture of a
         deal had begun to take shape, the plaintiffs’ lawyers
         (without going to the district court) designated two of
         their own members to serve as “independent” counsel
         for two putative “subclasses”: one for all players who
         currently have a “qualifying diagnosis” (as defined by
         the settlement), and one for all players who do not.
              If this Court does not intervene now, the conse-
         quences will be severe: not only will lawyers and litigants
         be handed a blueprint for circumventing Amchem and
         Ortiz, but thousands of former football players later
         diagnosed with CTE may file suit in the Second Cir-
         cuit—and that circuit’s precedent will permit them to
         collaterally attack the settlement on the ground that it
         did not provide them any compensation. This is thus the
         rare case in which a split in the circuits may lead to a
         different result in the same litigation—litigation affect-
         ing the lives of thousands of people, hundreds of millions
         of dollars, and the future of professional football. This
         Court’s intervention is required.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 13 of 41


                                     -3-
                           OPINIONS BELOW
             The Third Circuit’s opinion is reported at 821 F.3d
         410 and is reproduced in the appendix at App. 2a–59a.
         The district court’s opinion is reported at 307 F.R.D. 351
         and is reproduced in the appendix at App. 60a–212a.
                             JURISDICTION
              The Third Circuit entered judgment on April 18,
         2016 (App. 2a) and denied a timely petition for rehearing
         en banc on June 1, 2016 (App. 224a). Justice Alito grant-
         ed an order extending the time to file this petition until
         September 26, 2016 (No. 16-A-186). This Court’s juris-
         diction rests on 28 U.S.C. § 1254(1).
                           RULE INVOLVED
              The full text of Federal Rule of Civil Procedure 23 is
         set out in the appendix at App. 226a.
                              STATEMENT
         I.   Nearly every former NFL player who has been
              examined has been diagnosed with CTE.
             For decades, the NFL went to great lengths to con-
         ceal evidence of the effects of concussions, both before
         and after CTE’s discovery. See generally Mark Fainaru-
         Wada & Steve Fainaru, League of Denial (2013). But
         when researchers at Boston University’s CTE Center
         began inspecting the brains of deceased NFL players,
         they found signs of CTE in almost all of them (87 out of
         91, as of 2015). David Geier, Will football players one
         day take medicine to prevent brain damage?, The Post
         and Courier, Aug. 5, 2015, http://tinyurl.com/oa39muf.
         The results led Dr. Ann McKee, a leading neuropa-
         thologist at the CTE Center, the world’s largest brain
         bank focused on traumatic brain injury, to wonder “if
         every single football player doesn’t have this.” A.5248.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 14 of 41


                                    -4-
              CTE manifests itself mainly through emotional and
         cognitive symptoms. A.2287. Early signs include severe
         headaches and loss of concentration. A.2255. Players go
         on to struggle with depression, anger, and memory loss,
         followed by motor impairment, aggression, language
         difficulty, and dementia. A.2237, 2255. Many players also
         develop substance-abuse problems, lose basic function-
         ing, and contemplate suicide. A.2287, 5275. As lead class
         counsel explained, CTE is “the most serious and harmful
         disease that results from [the] NFL and concussions.”
         A.2237. Although research has advanced significantly in
         the seven years since the disease was discovered, at
         present CTE can be diagnosed definitively only after
         death. A.2957. Scientists, however, predict that methods
         to reliably diagnose CTE in living patients are imminent.
         A.4420, 4597, 4620, 4768, 4953, 5004. UCLA researchers,
         for example, used brain-imaging tools in 2013 to detect
         signs of CTE in five living former players. Steve Fainaru
         & Mark Fainaru-Wada, UCLA study finds signs of CTE
         in living former NFL players, ESPN, Jan. 22, 2013,
         http://es.pn/1PkszAu.
         II.   Responding to the connection between CTE and
               football, retired players sue the NFL in droves.
             Amid mounting evidence that football causes CTE
         and a growing awareness of the NFL’s cover-up, many
         football players sought legal redress. By 2012, hundreds
         of personal-injury suits by some 4,500 players nation-
         wide were consolidated before a single district judge in
         Philadelphia. App. 65a. The plaintiffs’ lawyers proposed
         a Plaintiffs’ Steering Committee to direct the litigation,
         and the judge approved its structure—without appoint-
         ing anyone to represent the thousands of players who
         had neither sued nor manifested any injury. Id.
             The core allegation in the plaintiffs’ collective com-
         plaint was that the NFL’s conduct had “obfuscated the
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 15 of 41


                                     -5-
         connection between NFL football and long-term brain
         injury.” App. 66a-67a. The central issue was CTE. A.867-
         72, 2511 (“This started out as a CTE case. It is a CTE
         case.”). As the litigation spilled into the following year,
         the district court ordered the parties to mediate. App.
         69a.
              After mediation was underway, it become clear that
         the NFL wanted a way to dispose of future CTE claims,
         not just the claims of players with cases already on file.
         Weeks of negotiations on the basic framework of a global
         resolution thus ensued. Only then, after the contours of a
         proposed class-action settlement had begun to take
         shape, did the Steering Committee recognize a conflict of
         interest between present-injury and future-injury claim-
         ants. At that point, the Committee took it upon itself to
         create putative “subclasses” defined by whether a player
         had already been diagnosed with one of several qualify-
         ing diseases negotiated by the parties. One “subclass”
         would consist of players currently diagnosed with neu-
         rocognitive impairments (including those who had died
         with CTE) and therefore had present claims against the
         NFL. The second would consist of retired players who
         suffered from none of the specified impairments but
         were—by virtue of having played in the NFL—at seri-
         ous risk for CTE, though they could not know whether
         the disease had begun to develop or would develop in the
         future.
              The Committee designated Kevin Turner, who suf-
         fered from ALS, to represent the present-claims sub-
         class and recruited Corey Swinson, who had played just
         one NFL season and had not been diagnosed with any
         brain injuries, to represent the future-claims players—
         the majority of the putative class. A.3569-70. Because
         Swinson had not suffered any known injury from his sole
         season in the league, he was not one of the 5,000 players
         who had sued the NFL and therefore had no lawyer. So
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 16 of 41


                                    -6-
         the plaintiffs’ lawyers selected one of their own—an
         existing member of the Steering Committee (Arnold
         Levin) who represented nearly a dozen players with
         cases on file (and retained a one-third contingency stake
         in their recoveries)—to serve as his “independent” coun-
         sel. A.667, 3570, 3578. The plaintiffs’ lawyers selected a
         different member of the Steering Committee to serve as
         counsel to the other subclass, even though this lawyer
         represented a player alleging the same injuries as Lev-
         in’s currently injured clients—and in fact was (and may
         still be) one of Levin’s clients. See CA3 ECF No.
         003112095536, Exs. A & D. The court had no involvement
         in this process.
         III. Shortly after the appointment of a mediator, the
              parties agree to a global settlement.
              By the end of August 2013—just one month after the
         mediator’s appointment and before even taking any
         formal discovery against the NFL—plaintiffs’ counsel
         had signed a term sheet outlining a global settlement
         with the NFL. App. 71a. One month later, before the
         parties inked an actual settlement, Swinson died. For
         more than a month after his death, as the details of the
         deal were being fleshed out, there was no plaintiff pur-
         porting to represent the future-claims players. Then, in
         mid-October, plaintiffs’ counsel found Shawn Wooden
         and recruited him to take Swinson’s place, explaining to
         him the terms of the already-negotiated deal. A.3824,
         3902. Wooden agreed not only to serve as a representa-
         tive but also to “support[] the settlement.” A.3824, 3902.
         In 2012, he had described himself as “at increased risk of
         latent brain injuries” generally. A.786. But by the time
         he was “appointed” the proposed representative of fu-
         ture claimants, Wooden’s claim specified that he was at
         risk for “dementia, Alzheimer’s, Parkinson’s, or ALS”—
         but, critically, not CTE. A.1126, 3823.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 17 of 41


                                     -7-
              In January 2014, plaintiffs’ counsel asked the district
         court to certify the class and approve a proposed settle-
         ment. App. 71a. Concerned that the fund would dry up
         prematurely, the court initially rejected the proposal.
         App. 71a-72a. Five months later, the parties submitted a
         revised settlement that “retained the same basic struc-
         ture as the original,” but addressed some of the court’s
         concerns, including removal of the cap. Id. In a declara-
         tion documenting the negotiations, the mediator stated
         that plaintiffs’ counsel had “passionately advocated” that
         players be compensated for “dementia, Alzheimer’s
         Disease, Parkinson’s Disease, and ALS.” A.3807. He did
         not say the same about CTE. Less than two weeks later,
         the court preliminarily approved the settlement and
         conditionally certified the class and two subclasses. App.
         73a, A.3824.
              The proposed settlement would release the claims of
         two subclasses: (1) all retired players diagnosed with a
         “qualifying diagnosis” before the final settlement date
         (and their spouses and estates), and (2) all retired play-
         ers not diagnosed with a qualifying diagnosis before the
         final settlement date (and their spouses and estates).
         A.5714-15. The six qualifying diagnoses (in descending
         order of value) are: ALS; Death with CTE (but only if
         death occurs before April 22, 2015); Parkinson’s Disease;
         Alzheimer’s Disease; Level 2 (moderate) dementia and
         Level 1.5 (early) dementia. A.5730.
              A. Compensation Framework. The settlement
         awards compensation on a sliding scale, from a maximum
         of $5 million (for ALS) to a maximum of $1.5 million (for
         early dementia). A.5740. How much a player receives
         depends on several factors, including age at diagnosis,
         seasons played, and previous diagnosis. A.5629. The
         settling parties’ estimates show that the average pay-
         ment for future dementia claims will be $190,000, while
         the average payment for current CTE claims will be
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 18 of 41


                                    -8-
         $1.44 million. A.1573. Named plaintiff Kevin Turner, who
         has ALS, will be eligible for compensation. The same is
         true for players with Parkinson’s.
              Players with CTE, however, are entitled to compen-
         sation only if they died before the final approval date.
         App. 77a. So, for example, the family of Dave Duerson—
         who had CTE and died before approval—is eligible for
         up to $4 million, the maximum amount paid for a death-
         with-CTE diagnosis. But the family of Ken Stabler, who
         died after approval has since been diagnosed with CTE,
         will receive no compensation for that diagnosis. John
         Branch, Ken Stabler, a Magnetic N.F.L. Star, Was
         Sapped of Spirit by C.T.E., N.Y. Times, Feb. 3, 2016,
         http://nyti.ms/1SKlJYp. By foreclosing CTE-based com-
         pensation for players who suffer from the disease but
         have not yet died, and all players who do not yet suffer
         from it but one day will, the settlement treats future
         CTE claimants much differently than, say, future ALS
         claimants.
              The only exception to this rule is if the player with
         CTE also exhibits conditions that trigger one of the
         other qualifying diagnoses and is able to claim compen-
         sation on that basis. But research suggests that these
         overlaps are only a minority of CTE cases. One study
         found that CTE was the sole diagnosis in 63% of cases,
         while Alzheimer’s, for example, appeared in about one in
         ten. A.2255, A.3218. In another study of 33 CTE-infected
         brains, only 10 also showed signs of dementia. A.2509-10.
         Even among those with advanced CTE, a quarter were
         not considered cognitively impaired. Id.
              As a result, the earliest and most prevalent symp-
         toms of CTE—depression, aggression, chronic head-
         aches, mood swings, and loss of concentration—trigger
         no compensation at all under the settlement. A.2509,
         2955, 2958. The “key symptoms” of CTE, in other words,
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 19 of 41


                                     -9-
         “are not compensable.” A.2958. Conversely, the diseases
         that are compensated—ALS, Parkinson’s, and Alz-
         heimer’s—are those for which the incidence among re-
         tired NFL players is significantly lower than the inci-
         dence of CTE. A.2380. One study, examining NFL retir-
         ees who played at least five seasons, recorded just seven
         cases of ALS, seven of Alzheimer’s, and three of Parkin-
         son’s—out of 3,439 retired players. A.2379-82, 2400. By
         contrast, expert research suggests that CTE’s incidence
         among NFL players may be as high as 96%, dwarfing
         the conditions that receive compensation. A.2370.
              Based on the parties’ own estimates, approximately
         15,000 class members (or 72% of the class) will never be
         compensated. A.1585. Although these players have no
         way of presently knowing whether they will be diag-
         nosed with CTE, the settlement expressly surrenders
         their right to assert any future claims based on a future
         CTE diagnosis, thus ensuring that those who do not also
         happen to suffer from a triggering neurodegenerative
         disease will receive no compensation.
              B. Attorneys’ Fees. Under a “clear-sailing clause,”
         the settlement allows class counsel to seek up to $112.5
         million in attorneys’ fees without objection from the
         NFL. App. 95a-96a, A.1082. Unlike the players’ com-
         pensation, the fees would be paid immediately. Class
         counsel can also claim a set-aside worth 5% of all benefits
         paid, plus contingency fees for class members that they
         represent individually. A.5671. Based on class counsel’s
         own damages estimates, the 5% set-aside alone could be
         worth $46 million, in addition to the $112.5 million al-
         ready guaranteed. A.1599. Because class counsel has not
         released any information about separate contingency
         arrangements—including any information that would
         shed light on whether counsel for either subclass was
         conflicted—it is impossible to estimate this compensa-
         tion. The record suggests, however, that the arrange-
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 20 of 41


                                     -10-
         ments here mirror those in typical personal-injury cases,
         where counsel takes 33%. See Dist. Ct. Dkt. No. 6356.
         Although Rule 23 contemplates that class counsel will
         seek fees contemporaneously with the settlement ap-
         proval process, so that courts and class members may
         evaluate the overall deal and counsel’s efforts, the dis-
         trict court here allowed counsel to seek these fees sepa-
         rately—following final approval and appeals. App. 95a,
         A.5671.
         IV. The district court approves the settlement.
              The district court certified the class and two sub-
         classes and approved the settlement. App. 60a-212a. The
         court acknowledged that Rule 23’s adequacy require-
         ment “demand[s] undiluted, even heightened, attention
         in the settlement context.” App. 87a (quoting Amchem,
         521 U.S. at 620). It also recognized that the requirement
         guards against conflicts of interest by “‘assur[ing] that
         differently situated plaintiffs negotiate for their own
         unique interests’”—a special concern with settlement
         classes that, as here, would bind both “those with pre-
         sent injuries and those who have not yet manifested
         injury.” App. 99a-100a (quoting Georgine v. Amchem
         Prods., Inc., 83 F.3d 610, 631 (3d Cir. 1996)).
              Nevertheless, the court determined that the adequa-
         cy requirement was satisfied here. App. 108a. It rea-
         soned that any conflict was eliminated because class
         counsel, after “[r]ecognizing this problem” during nego-
         tiations, “subdivided the Class into two Subclasses,”
         added a representative for the newly created futures
         subclass, and then designated a lawyer on the Steering
         Committee to serve as his “independent counsel.” App.
         100a. The court also found Wooden to be an adequate
         “futures” representative because he “does not know
         which, if any, condition he will develop” in the future, and
         thus “has an interest in ensuring that the Settlement
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 21 of 41


                                    -11-
         compensates as many conditions as possible.” Id. The
         court did not attempt to square that statement with the
         fact that Wooden did not pursue compensation for CTE
         or specifically allege that he is at risk of developing the
         disease.
              Having certified the subclasses, the court deter-
         mined that the settlement is fair and does not violate due
         process—even though it does not compensate any living
         class members for CTE and forces them to relinquish
         their right to bring any future “claims relating to CTE”
         against the NFL. App. 82a-83a. The court explained that
         the parties had resolved the court’s “primar[y] con-
         cern[]”—the possibility that “the capped fund would
         exhaust before the 65-year life of the Settlement,” there-
         by creating the risk that some class members would
         receive nothing simply because their injuries were dis-
         covered too late. App. 71a-72a. The court was uncon-
         cerned, however, that this same problem exists for CTE,
         given the disparity in the settlement’s treatment of pre-
         sent and future CTE claims.
              The court attempted to justify this disparity in two
         ways. First, it speculated that providing a “prospective
         Death with CTE benefit would incentivize suicide be-
         cause CTE can only be diagnosed after death.” App.
         160a. Second, it believed that a living class member
         “does not need a death benefit because he can still go to
         a physician and receive a Qualifying Diagnosis” while
         living. Id. The court pointed to studies showing that
         many players who died with CTE “would have received
         compensation under the Settlement if they were still
         alive” because the disease, in its advanced stages, likely
         “inflicts symptoms compensated by Levels 1.5 and 2
         Neurocognitive Impairment and is strongly associated
         with the other Qualifying Diagnoses in the Settlement.”
         App. 149a, 157a. Based on that possible partial overlap,
         the court determined that these diagnoses are adequate
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 22 of 41


                                     -12-
         “prox[ies]” for CTE—even though they are worth far
         less under the settlement—so CTE need not be compen-
         sated for any living class members. App. 160a.
              The court appeared to understand that potentially
         thousands of settlement class members will receive no
         compensation under the settlement and yet later be
         diagnosed with CTE. But the court took the view that
         the settlement “reasonably does not compensate Retired
         Players with the mood and behavioral symptoms alleged-
         ly associated with CTE.” App. 155a. The court did so
         without insisting on any mechanism to ensure that the
         settlement will be adjusted, if necessary, to reflect future
         scientific developments regarding CTE. App. 150a. It
         required only that the parties “confer in good faith about
         possible revisions to the definitions of Qualifying Diag-
         noses based on scientific developments.” Id.
         V.   The Third Circuit affirms.
             The Third Circuit affirmed the settlement approval.
         With respect to adequacy of representation, the court
         first considered the class lawyers’ mid-negotiation deci-
         sion to “creat[e] two separate subclasses” and designate
         “lawyers from the Steering Committee” to serve as
         subclass counsel for the future-injured subclass. App.
         22a. The court rejected the objectors’ argument that this
         “appointment” failed to ensure adequate representation,
         in violation of Amchem, by depriving the subclass of
         truly independent counsel. The Third Circuit “agree[d]”
         that “class counsel could have gone to the District Court
         and asked it to appoint counsel from the outside,” but
         found “no precedent requiring such a procedure.” App.
         22a-23a.
             The court next turned to the adequacy of Arnold Lev-
         in—the class lawyers’ choice to represent the future
         claimants. App. 23a. Levin “represented nine players
         who alleged current symptoms in two lawsuits against
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 23 of 41


                                    -13-
         the NFL” and had “agreed to fees in these cases on a
         one-third contingency basis.” Id. Nevertheless, the court
         could “not see how” this representation might create a
         “conflict of interest” and defeat adequacy because Levin
         “disclosed his representation to the District Court” be-
         fore the case was converted to a class action, and was
         nonetheless appointed to the Steering Committee. App.
         24a. And, after finding that the record contained “no
         evidence” that Levin’s individual clients had a qualifying
         diagnosis under the settlement’s terms, the court con-
         cluded that “this is not a situation where subclass coun-
         sel has clients in both subclasses.” App. 24a-25a.
             Having endorsed the representation structure, the
         court turned to the class representatives. The court first
         rejected the objectors’ argument that the futures-
         subclass representative (Wooden) was inadequate be-
         cause he had not alleged a claim for future risk of CTE.
         Although Wooden did not actually plead this claim (un-
         like others in the future-injured subclass), the court
         concluded that it was sufficient that his complaint stated
         that he was at “an increased risk of latent brain injuries”
         generally, reasoning that “[t]his allegation covers the
         risk of CTE.” App. 25a. In the court’s view, “what mat-
         ters more than the words Wooden used” in his complaint
         “are the interests he would have in representing the
         subclass.” Id. Because “Wooden, and all retired NFL
         players for that matter, are at risk of developing the
         disease,” any one “would have an interest in compensa-
         tion for CTE in the settlement.” Id.
             Finally, the court turned to the potential Amchem
         conflict that dogged the class from the start. The court
         described as “on point” the district court’s conclusion
         that “no fundamental conflict” existed: “[S]imply put,
         this case is not Amchem.” App. 28a-29a. “The most im-
         portant distinction,” the panel explained, “is that class
         counsel here took Amchem into account by using the
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 24 of 41


                                    -14-
         subclass structure to protect the sometimes divergent
         interests of the retired players.” App. 29a. According to
         the panel, the subclasses were “represented in the nego-
         tiations by separate class representatives with separate
         counsel, and, as discussed, each was an adequate repre-
         sentative.” Id. In the court’s view, “[t]his alone,” was a
         “significant structural protection for the class that
         weighs in favor of finding adequacy.” Id.
              REASONS FOR GRANTING THE PETITION
         I.    The Third Circuit’s crabbed view of this Court’s
               landmark decisions in Amchem and Ortiz
               cannot be reconciled with other circuits’ cases.
              A. This Court has twice waded into the law of class-
         action settlements—and both times it addressed “the
         most difficult problem” in class-action jurisprudence: the
         problem of “future claimants” in classes designed for
         settlement. Geoffrey C. Hazard, Jr., The Futures Prob-
         lem, 148 U. Pa. L. Rev. 1901, 1901 (2000). In both cases,
         the Court confronted the question of what “structural
         assurance[s]” are necessary to guarantee that a settle-
         ment-only class of all claimants who may one day hold a
         particular claim—the currently injured, as well as those
         not yet manifesting injury—reflects “fair and adequate
         representation for the diverse groups and individuals.”
         Amchem, 521 U.S. at 627; see Ortiz, 527 U.S. 815. And in
         both cases, the Court held that the settlements fell well
         short of the mark. Taken together, Amchem and Ortiz
         “wrote the ground rules for adequate representation in
         the settlement-only class context.” In re Payment Card
         Interchange Fee & Merchant Disc. Antitrust Litig., 827
         F.3d 223, 232 (2d Cir. 2016).
              1. Amchem came first. Like this case, it began as
         multidistrict mass-tort litigation, and was converted into
         a class action only “to achieve global settlement of cur-
         rent and future asbestos-related claims.” 521 U.S. at 597.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 25 of 41


                                    -15-
         Because the defendant made clear that “it would resist
         settlement of [pending] cases absent some kind of pro-
         tection for the future,” the Plaintiffs’ Steering Commit-
         tee—all of whom represented clients with pending
         claims—tried to craft a deal that would provide that
         protection. Id. at 601. The future claimants were thus
         added to the case strictly for settlement purposes; the
         class “was not intended to be litigated.” Id. at 600-01.
              Although the settlement-only class was united in
         that each member had been exposed to asbestos at one
         time or another, the similarities ended there. Class
         members had been “exposed to different asbestos-
         containing products, for different amounts of time, in
         different ways, and over different periods.” Id. at 624.
         And the extent of their injuries was just as varied. Some
         were critically ill with lung cancer or mesothelioma.
         Others had no symptoms at all. Still others lay in the
         vast expanse between the two, suffering from a range of
         ailments related to asbestosis. And still more were
         spouses who had endured a loss of consortium.
              Affirming “a long, heavily detailed opinion by Judge
         Becker,” this Court decertified the class and invalidated
         the settlement. Id. at 608; see Georgine v. Amchem
         Prods., Inc., 83 F.3d 610 (3d Cir. 1996). In doing so, the
         Court discussed how Rule 23’s procedural “safeguards”
         work to protect absent class members “in the settle-
         ment-class context.” 621 U.S. at 621. The Court held that
         those safeguards—under Rule 23(a) and (b)—must
         “preexist any settlement,” and “demand undiluted, even
         heightened, attention in the settlement context.” Id. at
         620, 623. An after-the-fact fairness hearing is no surro-
         gate for steadfast adherence to “the standards set for
         the protection of absent class members,” which “serve to
         inhibit appraisals of the chancellor’s foot kind—class
         certifications dependent upon the court’s gestalt judg-
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 26 of 41


                                     -16-
         ment or overarching impression of the settlement’s fair-
         ness.” Id.at 621.
              Rule 23(a)(4), in particular, focuses on the adequacy
         of the class representatives and the “competency and
         conflicts of class counsel.” Id. at 626 n.20. It requires that
         each representative “be part of the class and ‘possess the
         same interest and suffer the same injury’ as the class
         members.” Id. at 625-26. A fatal feature of the Amchem
         class was that “named parties with diverse medical con-
         ditions sought to act on behalf of a single giant class
         rather than on behalf of discrete subclasses,” and yet the
         settlement matrix was zero-sum-game: It entailed “es-
         sential allocation decisions designed to confine compen-
         sation and to limit defendants’ liability.” Id. at 626-27.
         And those decisions tended to benefit certain present
         claimants at the expense of everyone else: The settle-
         ment did not account for changing science or inflation,
         “only a few claimants per year [could] opt out at the back
         end,” and “loss-of-consortium claims [were] extinguished
         with no compensation.” Id.
              As a result, the Court held, “the interests of those
         within the single class [we]re not aligned.” Id. at 626.
         The Court zeroed in on the “most salient[]” intra-class
         conflict (the present/future divide), explaining that, “for
         the currently injured, the critical goal is generous imme-
         diate payments,” but “[t]hat goal tugs against the inter-
         est of [future-injury] plaintiffs,” who may not “realize the
         extent of the harm they may incur,” and thus would
         “seek sturdy back-end opt-out rights and ‘causation
         provisions that keep pace with changing science and
         medicine, rather than freezing in place the science.’” Id.
         at 610-11, 626, 628. By not accounting for this fundamen-
         tal conflict at the threshold, the parties’ “global compro-
         mise” provided “no structural assurance of fair and ade-
         quate representation for the diverse groups and individ-
         uals affected.” Id. at 627. Neither “the terms of the set-
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 27 of 41


                                    -17-
         tlement” nor “the structure of the negotiations” could
         assure the Court that the absentees had been adequately
         represented. Id.
              2. Two years later, the Court revisited Rule 23’s ad-
         equacy requirement in Ortiz, another case involving the
         “elephantine mass of asbestos cases.” 527 U.S. at 821.
         Ortiz began much like Amchem (and this case) did, with
         the filing of thousands of individual personal-injury
         cases. One of the main defendants in those cases then
         “approached a group of leading asbestos plaintiffs law-
         yers” to discuss a possible “global settlement” of its
         “asbestos personal-injury liability.” Id. at 823-24. At
         “about midnight” in “a coffee shop in Tyler, Texas,” on
         the eve of a key oral argument in one of the cases, the
         lawyers agreed on the dollar amount for complete peace:
         $1.535 billion. Id.
              Days later, a lawsuit was filed seeking certification
         of a settlement-only class that would comprise three
         categories: those with present claims not yet brought or
         settled, those with future claims, and all beneficiaries
         “past, present and future.” Id. at 825-26. The named
         plaintiffs had not been designated as putative represent-
         atives until “after the agreement in principle was
         reached,’” and simply “relied on class counsel in subse-
         quent settlement negotiations.” Id. at 856 n.31.
              As in Amchem, this Court decertified the class and
         wiped out the deal, finding that it lacked the requisite
         “procedural protections.” Id. at 847. The Court reiterat-
         ed that these protections must “preexist any settle-
         ment,” and take on heightened importance in settlement
         classes, because certification “effectively concludes the
         proceeding save for the final fairness hearing.” Id. at
         858, 849. And “a fairness hearing under Rule 23(e) is no
         substitute for rigorous adherence” to Rule 23(a). Id. at
         849. Unlike Amchem, however, which “concentrated on
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 28 of 41


                                     -18-
         the adequacy of [the] named plaintiffs” (or lack thereof),
         this time the Court trained its attention on class counsel.
         Id. at 856 n.31.
              The Court pointed to “two instances of conflict” that
         were “well within the requirement of structural protec-
         tion recognized in Amchem.” Id. at 857. The first was the
         divide between present and future claimants. The Court
         found it “obvious after Amchem” that this conflict “re-
         quires division into homogeneous subclasses” with “sep-
         arate representation to eliminate conflicting interests of
         counsel.” Id. at 856. Yet the plaintiffs’ lawyers who nego-
         tiated the agreement included “at least some of the same
         lawyers” who had reached side deals in other asbestos
         cases that were “contingent on a successful” global reso-
         lution. Id. at 852. This created a serious risk of skewed
         incentives, because “with an already enormous fee within
         counsel’s grasp, zeal for the client may relax sooner than
         it would in a case brought on behalf of one claimant.” Id.
         at 852 n.30. In the Court’s view, this was an “egregious
         example of the conflict noted in Amchem.” Id. at 853.
              The “second instance of disparate interest within the
         certified class” was that some class members had “more
         valuable claims” than others because they had been
         exposed to asbestos products before expiration of the
         defendant’s insurance coverage. Id. at 857. The settle-
         ment, however, treated these claims equally. Id.
              In light of these “intraclass conflicts,” the Court held
         that it was “essential” that they be “addressed by recog-
         nizing     independently      represented       subclasses”—
         something that had not happened. Id. at 864. And the
         Court strongly suggested that a district court was re-
         quired to ensure that these mandatory structural protec-
         tions were in place “at the precertification stage.” Id. at
         858. Echoing Judge Smith’s dissent in the Fifth Circuit,
         the Court faulted the district court for failing to heed
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 29 of 41


                                     -19-
         this obligation: It “took no steps at the outset to ensure
         that the potentially conflicting interests of easily identi-
         fiable categories of claimants [would] be protected” in
         negotiations, “relying instead on its post-hoc findings at
         the fairness hearing” to conclude that the various inter-
         ests “in fact had been adequately represented.” Id. at
         831-32; see In re Asbestos Litig., 90 F.3d 963, 1026 (5th
         Cir. 1996) (Smith, J., dissenting) (“[A]n after-the-fact
         substantive review is far too little, far too late,” for the
         court cannot “turn back the clock and appoint different
         counsel to renegotiate the settlement fairly.”). By failing
         to rigorously analyze the structural shortcomings, the
         Fifth Circuit (like the district court) had “disregarded
         Amchem.” 527 U.S. at 831.
              The Court also refused to allow these shortcomings
         to be “mitigated” based on the settlement’s substance, or
         because “separate counsel” could “not to be had in the
         short time that a settlement agreement was possible.”
         Id. at 863. The Court was firm on this point: a court may
         not “lower the structural requirements of Rule 23(a) as
         declared in Amchem” just because “the clock is about to
         strike midnight.” Id. If “an allowance for exigency” could
         “make a substantial difference in the level of Rule 23
         scrutiny, the economic temptations at work on counsel in
         class actions [would] guarantee enough exigencies to
         take the law back before Amchem.” Id. at 864.
              B. The “landmark decisions” in Amchem and Ortiz
         “set down important standards and guidelines” for
         courts and litigants. Sullivan v. DB Investments, Inc.,
         667 F.3d 273 (3d Cir. 2011) (en banc) (Scirica, J., concur-
         ring). But they provide “relatively little solid guidance”
         and leave many questions unanswered. John D. Aldock
         & Richard M. Wyner, The Use of Settlement Class Ac-
         tions to Resolve Mass Tort Claims After Amchem, 33
         Tort & Ins. L.J. 905, 913-14 (1998). “[A]mong the most
         vexing [questions] to arise in the aftermath of Amchem”
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 30 of 41


                                     -20-
         concerns “the outer limits on the insistence in Amchem
         upon subclassing”—a question on which Ortiz may have
         “just add[ed] to the confusion.” Richard A. Nagareda,
         The Law of Class Actions and Other Aggregate Litiga-
         tion 117, 119 (2009). And even if a court is asked to certi-
         fy subclasses after the fact, what procedural protections
         must exist so that the court can be sure that the interests
         of each divergent group—especially those not yet mani-
         festing injury—were truly represented at the negotiat-
         ing table? The circuits (primarily the Second and Third,
         where these issues most often arise) have given vastly
         different answers to these questions, applying varying
         degrees of rigor in carrying out the dictates of Amchem
         and Ortiz.
              The Second Circuit, unlike the Third Circuit below,
         has repeatedly enforced Rule 23’s procedural protections
         with “added solicitude” in the settlement context, stand-
         ing guard against the “imperatives of the settlement
         process.” Interchange, 827 F.3d at 235. Recognizing that
         a settlement itself “can influence the definition of the
         classes and the allocation of relief,” the Second Circuit
         has vigorously policed settlements to ensure that safe-
         guards were in place before the deal was inked—
         especially when “[c]lass counsel stood to gain enormous-
         ly if they got the deal done.” Id. at 234, 236; accord
         Smith v. Sprint Comm’ns Co., 387 F.3d 612, 614 (7th Cir.
         2004) (“Rule 23 demands” protection “prior to the set-
         tlement itself.”).
              The Second Circuit has therefore consistently decer-
         tified settlement classes “when categories of claims have
         different settlement values” and lack subclasses and
         “separate counsel.” In re Literary Works in Elec. Data-
         bases Copyright Litig., 654 F.3d 242, 250-51, 253 (2d Cir.
         2011); see Interchange, 827 F.3d at 232-36; Cent. States
         Se. & Sw. Areas of Health & Welfare Fund v. Merck–
         Medco Managed Care, L.L.C., 504 F.3d 229, 246 (2d Cir.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 31 of 41


                                    -21-
         2007); In re Joint E. & S. Dist. Asbestos Litig., 982 F.2d
         721, 742-43 (2d Cir. 1992) (quoted with approval by Am-
         chem). As the Second Circuit explained just this past
         summer, “divergent interests require separate counsel
         when it impacts the ‘essential allocation decisions’ of
         plaintiffs’ compensation and defendants’ liability.” Inter-
         change, 827 F.3d at 233-34 (stressing need for “separate
         representation” when one group’s interests are “antago-
         nistic to the others on a matter of critical importance—
         how the money would be distributed”). “The rationale is
         simple: how can the value of any subgroup of claims be
         properly assessed without independent counsel pressing
         its most compelling case?” Literary Works, 654 F.3d at
         253.
              The Second Circuit has held firm and fast to this
         view even in cases where the risks of divergent interests
         were less obvious than in Amchem, Ortiz, and this case.
         In Literary Works, for example—unlike here (and Am-
         chem)—the named plaintiffs held “a variety of claims
         across the spectrum” (including all compensation catego-
         ries), “the attorneys conducting the negotiations . . .
         represented holders of all three species of claims from
         the outset,” and “[n]o claims unique to a portion of the
         class [we]re forfeited without compensation.” Id. at 261-
         62 (Straub, J., dissenting). And “unlike Amchem” (and
         this case), “where one defendant refused to settle pre-
         sent claims until future claims were included”—creating
         a strong “incentive” for the “plaintiffs’ representatives”
         to “bargain away exposure-only claimants’ rights in
         order to ensure a generous settlement for their original,
         currently-injured clients”—“[n]o such incentive existed”
         in Literary Works. Id. at 263. Still, the Second Circuit
         invalidated the settlement and required subclasses.
              In doing so, the court acknowledged that “[t]he
         Third Circuit”—even before this case—has taken a
         different approach, approving a settlement that “allocat-
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 32 of 41


                                     -22-
         ed the recovery among three distinct classes of plaintiffs
         without creating subclasses.” Literary Works, 654 F.3d
         at 256 n.10 (discussing In re Insurance Brokerage Anti-
         trust Litig., 579 F.3d 241 (3d Cir. 2009)); see also Liter-
         ary Works, 654 F.3d at 261 (Straub, J., dissenting) (quot-
         ing another Third Circuit case holding that settlement’s
         unequal allocation “does not demonstrate a conflict be-
         tween groups,” just “the relative value of the different
         claims,” In re Pet Food Prods. Liab. Litig., 629 F.3d 333,
         347 (3d Cir. 2010)). But the Second Circuit “hesistate[d]
         to conclude” the same. Literary Works, 654 F.3d at 256
         n.10. Instead, it probed the “settlement’s substance for
         evidence of prejudice to the interests of a subset of plain-
         tiffs,” and found some. Id. at 252. Because the disparate
         treatment of that subset lacked “credible justification,” it
         “strongly suggest[ed] a lack of adequate representation
         for those class members.” Id. at 254.
              Even when the Second Circuit has approved settle-
         ment classes, it has “explicitly distinguished” the settle-
         ment from “those in Amchem, Ortiz, and Literary Works
         on the ground that it did not extinguish claims other than
         those that were the subject of relief in the settlement.”
         Interchange, 827 F.3d at 240 (discussing Charron v.
         Wiener, 731 F.3d 241, 252 (2d Cir. 2013)). But when the
         release is broader than the relief provided, such that
         some people could receive “valueless relief while releas-
         ing a host of claims of unknown value,” the court has not
         hesitated to strike down the deal. Interchange, 827 F.3d
         at 239.
              In fact, the Second Circuit’s procedural protections
         are so robust that it has allowed a collateral attack on a
         global settlement (in the Agent Orange litigation), hold-
         ing that “the plaintiffs could not be bound by the settle-
         ment release” because “their class representative nego-
         tiated a settlement and release that extinguished their
         claims without affording them any recovery.” Id. at 237
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 33 of 41


                                          -23-
         (discussing Stephenson v. Dow Chem. Co., 273 F.3d 249,
         260-61 (2d Cir. 2001), aff’d in relevant part by an equally
         divided court, 539 U.S. 111 (2003)). Even though Rule 23
         did not apply (because it was not a direct appeal), the
         court held that enforcing the settlement’s release would
         violate due process. Id.
              The Eleventh Circuit, in another collateral attack,
         was similarly attentive to procedural concerns while
         weighing whether a decade-old settlement had provided
         adequate representation sufficient to satisfy due process.
         Juris v. Inamed Corp., 685 F.3d 1294 (11th Cir. 2012).
         Although the court ultimately enforced the settlement’s
         release, it did so only after taking pains to assure itself
         that the settlement had provided due process through a
         “combination” of two things. Id. at 1324. First, “well
         before” negotiations implicating a conflict had begun, the
         district court appointed six representatives reflecting the
         “full spectrum” of claimants, including “a representative
         with no manifested injury, one with minor to moderate
         injuries, and one who was totally disabled.” Id. at 1324 &
         n.26. Second, after the district court appointed class
         counsel, it “specifically brought in” separate counsel “for
         the sole purpose of representing those plaintiffs with
         only potential, future injuries.” Id. And this lawyer—as
         “the parties agreed, and [the court] was aware”—
         “represented solely future claimants with no current
         manifestations of injury.” Id. at 1326.1


              1
                Consistent with this approach, when the Second Circuit has
         required subclasses, that protection was put in place on remand
         before a new deal was negotiated. See, e.g., In re Joint E. & S. Dists.
         Asbestos Litig., 878 F. Supp. 473, 481 (S.D.N.Y. 1995), aff’d in
         relevant part, 78 F.3d 764 (2d Cir. 1996) (explaining that new set-
         tlement was submitted on remand only after “designation of new
         subclasses and strenuous negotiation among them”); In re Literary
                                                                 (continued …)
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 34 of 41


                                       -24-
              C. The Third Circuit’s decision below cannot be rec-
         onciled with these cases. In many ways, it marks the
         culmination of that circuit’s gradual drift away from
         Judge Becker’s opinions in Georgine and In re Gen.
         Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab.
         Litig., 55 F.3d 768 (3d Cir. 1995) (“GM Trucks”)—the
         first circuit opinion to explore the issues raised by set-
         tlement classes in depth—toward a far more permissive
         approach. The panel in this case approved a global set-
         tlement with two named plaintiffs: one for the entire
         present-claimant “subclass” (a class member with ALS,
         the rarest and most highly compensated disease under
         the settlement, who thus had “no incentive to maximize
         the recovery” for others, Literary Works, 654 F.3d at
         254), and one for the entire future-claimant “subclass.”
         In stark contrast with the Second Circuit, the Third
         Circuit thought that ensuring representation for class
         members with other compensable diseases was unneces-
         sary because it “risked slowing or even halting the set-
         tlement negotiations.” App. 28a.
              More importantly, separate counsel for the future
         claimants was not “brought in” after certification, as in
         Juris; instead, “class counsel designated lawyers from
         the Steering Committee to serve as subclass counsel,”
         and the district court signed off on this designation only
         afterward. App. 22a. The Third Circuit was not troubled


         Works in Elec. Databases Copyright Litig., No. M-21-90 (MDL No.
         1379), ECF No. 7, at 1 (S.D.N.Y., filed Nov. 22, 2013) (explaining
         that new counsel was brought in to represent new subclass on
         remand, after which the parties “embarked on months of negotia-
         tions”); In re Medco Health Solutions, Inc., Pharmacy Benefits
         Mgmt. Litig., No. 03-MDL-1508, ECF No. 192 (S.D.N.Y. June 26,
         2009) (approving new settlement on remand that was negotiated by
         subclass counsel appointed before negotiations).
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 35 of 41


                                    -25-
         by the fact that the lawyer for the future claimants sim-
         ultaneously “represented nine players who alleged cur-
         rent symptoms,” and “agreed to fees in these cases on a
         one-third contingency basis,” because the district court
         (post hoc) was “satisfied that he was an adequate repre-
         sentative.” App. 23a-24a. And the Third Circuit signaled
         that it agreed with the district court that there was “no
         fundamental conflict” between future and current claim-
         ants, saying that the court’s “analysis was on point.”
         App. 28a-29a.
              As for substance, the Third Circuit was again in se-
         rious tension with the Second Circuit, where any sub-
         stantive divergence on a “fault line[] along which [a]
         conflict runs” is strong evidence of inadequate represen-
         tation absent “credible justification.” Literary Works,
         654 F.3d at 254, 257. The Third Circuit, however, did not
         provide any justification for why the deal expressly
         extinguishes future CTE claims, yet does not compen-
         sate for them, nor why current CTE claims are valued so
         highly if the settlement was not designed to compensate
         CTE even for those already diagnosed with the disease.
         The court found that the settlement’s disparate treat-
         ment of CTE claims—up to $4 million for a pre-
         settlement diagnosis, but nothing for a post-settlement
         diagnosis—was “not evidence of a debilitating conflict of
         interest.” App. 31a. In addition, the court demonstrated
         no awareness of how “the potential for gigantic fees” can
         skew incentives, and cited “the presence of a mediator
         and special master” as a key “structural protection[],”
         App. 29a, even though the Second Circuit has held that
         these features “emphatically cannot remedy the inade-
         quate representation.” Interchange, 827 F.3d at 234.
              If this litigation had been consolidated in the Second
         Circuit, there is little doubt it would have come out dif-
         ferently. Indeed, the conflict between the Second and
         Third Circuits is so pronounced that, if this Court does
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 36 of 41


                                        -26-
         not step in, then any player who later develops CTE but
         does not qualify for compensation under the settlement
         will be able to bring a successful collateral attack in New
         York under binding Second Circuit precedent because
         “their class representative negotiated a settlement and
         release that extinguished their claims without affording
         them any recovery.” Id. at 237. This Court should not
         tolerate such a fundamental disagreement between two
         circuits that routinely handle complex nationwide class-
         action settlements. It should grant certiorari to resolve
         the uncertainty, reassert and clarify the meaning of its
         seminal settlement cases, and reverse the Third Circuit.
         II.       The Third Circuit’s decision contradicts
                   Amchem and Ortiz and delivers a dangerously
                   flawed blueprint for future class cases.
              The Third Circuit’s laissez-faire approach is not just
         incompatible with the decisions of other circuits—it also
         contravenes this Court’s cases. Left to stand, it would
         “take the law back before Amchem,” Ortiz, 527 U.S. at
         864, providing litigants with an all-too-easy template for
         circumventing Rule 23. Many more mass sports-
         concussion cases are looming2—and now, so are the
         flawed representation strategies approved here. The
         Court should take this opportunity to correct course.
              1. Had the Third Circuit followed this Court’s com-
         mand of “rigorous adherence” to Rule 23(a)(4), it would

               2
               See, e.g., Laurinaitis v. World Wrestling Entertainment, Inc.,
         No. 16-1209 (D. Conn) (professional wrestling); Mehr v. Federation
         International De Football Ass’n, No. 14-3879 (N.D. Ca.) (profes-
         sional soccer); In re Nat’l Hockey League Players’ Concussion
         Injury Litig., No. 14-2551 (D. Minn.) (professional hockey); Archie
         v. Pop Warner Little Scholars, No. 16-6603 (C.D. Ca.) (Pop Warner
         football); In re Nat’l Collegiate Athletic Ass’n Student-Athlete
         Concussion Litig., MDL No. 2492 (N.D. Ill.) (NCAA football).
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 37 of 41


                                    -27-
         have reversed the settlement—not deferred to the dis-
         trict court’s “post-hoc findings at the fairness hearing”
         that the absent class members “in fact had been ade-
         quately represented.” Id. at 832, 849.
              The parallels between this case and Amchem/Ortiz
         jump off the page. Each of the three cases began as
         consolidated personal-injury litigation that was convert-
         ed to a global settlement only because the defendant
         insisted on extinguishing claims “not yet in litigation.”
         Amchem, 521 U.S. at 601. Each involved a settlement
         negotiated exclusively by members of the Plaintiffs’
         Steering Committee representing “thousands of plain-
         tiffs with then-pending” claims, “although those lawyers
         then had no attorney-client relationship with [future]
         claimants.” Id. at 600-01. Each involved a tiny number of
         named plaintiffs seeking to represent a broad spectrum
         of current and future claimants with potentially compen-
         sable injuries. And each involved a settlement that con-
         tained clear substantive indicators that the conflict was
         anything but academic, resulting in serious, unjustifiable
         disparate treatment, strongly suggesting that the rights
         of future claimants had been used as bargaining chips to
         benefit current claimants and their lawyers.
              The only difference is that here—after the basic
         framework of the deal had been hashed out in nearly two
         months of negotiations—the plaintiffs’ lawyers devised a
         strategy to paper over the conflict. Without notifying the
         district court, they designated one of their own members
         to serve as counsel to a newly created “subclass” that
         would encompass every class member who does not
         qualify for compensation under the terms of the frame-
         work that had just been negotiated (whether currently
         injured or not). A.1116-17. They also named a former
         player with one season of NFL experience to serve as
         the lone representative for this subclass, and later re-
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 38 of 41


                                     -28-
         placed him with someone only after he agreed to “sup-
         port[] the settlement.” A.3569, 3902.
              This cannot possibly be the kind of representation
         that this Court had in mind when it said that, in cases of
         this sort, Rule 23 requires “the structural protection of
         independent representation,” Ortiz, 527 U.S. at 855, by
         those “who understand that their role is to represent
         solely the members of their respective subgroups,” Am-
         chem, 521 U.S. at 627. As in Ortiz, “the District Court
         took no steps at the outset to ensure that the potentially
         conflicting interests” of differently situated claimants
         were protected. 527 U.S. at 831-32. The result was a
         disabling conflict: The handpicked lawyer for future
         claimants “represented nine players who alleged current
         symptoms,” while retaining a one-third contingency
         stake in their cases, App. 23a—“an egregious example of
         the conflict noted in Amchem,” Ortiz, 527 U.S. at 853. In
         fact, he even shared a client with the lawyer designated
         as counsel to the other subclass (another member of the
         Steering Committee with similar clients). See CA3 ECF
         No. 003112095536, Exs. A & D.
              The Third Circuit could “not see how” these agree-
         ments “created a conflict of interest” because subclass
         counsel “disclosed his representation” in “an application
         for the Steering Committee.” App. 23a-24a. But this
         disclosure came well before the case was converted to a
         class action. And why should this matter, in any event, to
         the legal question whether there was adequate, uncon-
         flicted representation during negotiations? The district
         court did not address that question until after the fact, in
         its “post-hoc findings at the fairness hearing.” Ortiz, 527
         U.S. at 832. That does not satisfy Rule 23.
             2. Were there any doubt that the future claimants
         did not receive adequate representation here, it would be
         dispelled by “hom[ing] in” on “the terms of the settle-
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 39 of 41


                                    -29-
         ment.” Amchem, 521 U.S. at 619, 627; see Nat’l Super
         Spuds v. N.Y. Mercantile Exch., 660 F.2d 9, 18 (2d Cir.
         1981) (Friendly, J.) (“The inadequacy of the representa-
         tion” is “apparent from examination of the settlement
         itself.”). This settlement creates a massive “disparity
         between the currently injured and [future-injury] cate-
         gories of plaintiffs,” Amchem, 521 U.S. at 626—the
         class’s most salient conflict. Under the settlement’s
         terms, if a class member died with CTE before April 22,
         2015—that is, if he had a current CTE claim on the day
         of final approval—his estate will receive up to $4 million.
         But if a class member dies after April 22, 2015—that is, if
         he has a future CTE claim—his estate will get no mone-
         tary award at all. Future-injury plaintiffs, in other
         words, are forced to release all “claims relating to CTE,”
         App. 82a-83a, yet they “will never enjoy the [CTE] bene-
         fits of the settlement.” GM Trucks, 55 F.3d at 801.
              It is hard to think of more “conspicuous evidence” of
         “an intra-class conflict.” Id. When a “settlement treats
         [one group] quite differently from [another],” it has
         “serious implications for the fairness of the settlement
         and the adequacy of representation of the class.” Id. at
         777. That is especially true here, where the disparate
         treatment concerns the one injury that triggered this
         flood of litigation in the first place: death with CTE.
         Although the Third Circuit tried to explain away (rather
         than rigorously scrutinize) the disparate treatment of
         CTE, it had no explanation for why the settlement
         “throw[s] to the winds” future CTE claims without com-
         pensating them, Super Spuds, 660 F.2d at 17 n.6, nor
         why a current CTE claim is valued so highly if it were
         really meant as a proxy for other (far less valuable)
         diagnoses. See App. 30a-31a. And the Third Circuit inex-
         plicably believed that a toothless meet-and-confer provi-
         sion “allows the settlement to keep pace with changing
         science.” App. 29a.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 40 of 41


                                    -30-
              At bottom, the Third Circuit misunderstood its role
         as helping facilitate a global resolution of a crisis con-
         fronting America’s most popular sport—not enforcing
         Rule 23. “But the benefits of litigation peace do not out-
         weigh class members’ due process right to adequate
         representation.” Interchange, 827 F.3d at 240. Pro foot-
         ball may enjoy an exemption from the antitrust laws (and
         paying taxes), but it has no license to achieve a global
         release of liability by trampling on Rule 23 and due pro-
         cess.
                             CONCLUSION
             The petition for a writ of certiorari should be
         granted.
Case 2:12-md-02323-AB Document 7464-9 Filed 04/10/17 Page 41 of 41


                               -31-
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         September 26, 2016
